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                                                                  United States District Court
                                                                    Southern District of Texas

                                                                       ENTERED
                   IN THE UNITED STATES DISTRICT COURT                 June 06, 2019
                   FOR THE SOUTHERN DISTRICT OF TEXAS               David J. Bradley, Clerk
                            HOUSTON DIVISION


BRETT DAVID BOGUS,                     §
TDCJ #2023182,                         §
                                       §
              Petitioner,              §
                                       §
v.                                     §         CIVIL ACTION NO. H-19-122
                                       §
LORIE DAVIS, Director,                 §
Texas Department of Criminal           §
Justice - Correctional                 §
Institutions Division,                 §
                                       §
                   Respondent.         §



                      MEMORANDUM OPINION AND ORDER



     State inmate Brett David Bogus (TDCJ #2023182) has filed a

Petition for a Writ of Habeas Corpus by a Person in State Custody

("Petition") (Docket Entry No. 18), challenging a theft conviction

from Harris County, Texas.         After considering all of the pleadings

as required by Rule 4 of the Rules Governing Section 2254 Cases,

the court will dismiss this action without prejudice for the

reasons explained below.


                              I.    Background

      On August 28, 2015, Bogus was convicted upon his guilty plea

to charges of theft in an amount over $200,000.00 in Harris County

Cause No. 1433472. 1     As a result of that plea he was sentenced to

20 years�      imprisonment by the 176th District Court for Harris

      1
          Petition, Docket Entry No. 18, pp. 2-3.
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County, Texas. 2    That conviction was affirmed on direct appeal in

an unpublished opinion and the Texas Court of Criminal Appeals

refused his petition for discretionary review on March 7, 2018.

See Bogus v. State of Texas, No. 14-15-00832-CR, 2017 WL 1366674

(Tex. App. - Houston      [14th Dist.]    April 13,    2017,   pet. ref'd)

(concluding that the appeal was "wholly frivolous and without

merit").

     In a federal habeas Petition that was deposited in the prison

mailing system for filing with this court on May 20, 2019, 3 Bogus

contends that he is entitled to relief from his conviction for the

following reasons:

     (1)     his indictment was based on "intentionally
             misrepresented material facts" that were
             fabricated by the complainant;

     (2)     the trial court lacked jurisdiction because of
             errors that affected his "substantial rights";

     (3)     his conviction violated the prohibition
             against Double Jeopardy because he was charged
             with the same conduct in a related case;

     (4)     the prosecutor engaged in misconduct by
             pursuing a conviction in bad faith based on
             suppressed   evidence,   improper   remarks,
             perjured testimony, and misrepresented facts
             that falsely induced his guilty plea in
             violation of the Due Process and Equal
             Protection Clauses;

     (5)     the trial court engaged in judicial misconduct
             by allowing a constructive amendment of the




     3
         See id. at 10.

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                  charges based on ex parte communication and a
                  conflict of interest with defense counsel;

        (6)       he was denied effective assistance of counsel
                  when his attorney failed to challenge the
                  "criminality of [the] State's indictment u and
                  because his appellate attorney filed an Anders
                  brief;

        ( 7)      there   was  a   conspiracy   to  obtain   his
                  conviction with intent to commit fraud between
                  the complainant, the prosecutor, and defense
                  counsel;

        (8)       there was insufficient evidence to support his
                  conviction beyond a reasonable doubt;

        (9)       cumulative error deprived the petitioner of a
                  fair trial;

        (10) his   guilty plea   was              not   knowingly    or
             intelligently made; and

        (11) he is actually innocent. 4

Because Bogus has raised similar claims in a state habeas corpus

proceeding under Article 11. 07               of the Texas Code of Criminal

Procedure that he filed recently in state court on February 4,

2019,       and    which   remains    pending before     the trial    court,   his

Petition is subject to dismissal for lack of exhaustion. 5


                                     II.   Discussion

        A federal court may not grant habeas corpus relief under 28

U.S.C. § 2254 unless the petitioner "has exhausted the remedies



        4
            Id. at 6-7, 13-15.

      Id. at 11 (referencing Writ No. 1433472-A, which was filed in
        5

the 176th District Court for Harris County on February 4, 2019, and
remains pending).

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available in the courts of the State." 28 U.S.C. § 2254 (b) (1) (A);

Fisher v. Texas, 169 F.3d 295, 302 (5th Cir. 1999).                To satisfy

this requirement "the petitioner must afford the state court a

'fair opportunity to apply controlling legal principles to the

facts bearing upon his constitutional claim.'" Bagwell v. Dretke,

372 F.3d 748, 755 (5th Cir. 2004) (quoting Anderson v. Harless, 103

S. Ct. 276, 277 (1982)).       This means that a petitioner must present

his claims in a procedurally proper manner to the highest court of

criminal jurisdiction in the state, which in Texas is the Texas

Court of Criminal Appeals.        See O'Sullivan v. Boerckel, 119 S. Ct.

1728, 1731-34 (1999); Richardson v. Procunier, 762 F.2d 429, 432

(5th Cir. 1985).

       The   exhaustion     requirement     "is    not   jurisdictional,     but

reflects a policy of federal-state comity designed to give the

State an initial opportunity to pass upon and correct alleged

violations of its prisoners' federal rights."            Moore v. Quarterman,

454 F.3d 484,      490-91    (5th Cir. 2006)        (citations and internal

quotations marks omitted).         Exceptions exist only where there is

"an    absence     of     available    State      corrective    process"      or

"circumstances exist that render such process ineffective to

protect the rights of the applicant."             28 U.S.C. § 2254 (b) (1) (B).

       In Texas, a criminal defendant may exhaust remedies by taking

the following paths:        (1) the petitioner may file a direct appeal

from a judgment of conviction followed, if necessary, by a petition

for discretionary review in the Texas Court of Criminal Appeals;

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and/or (2) he may file a petition for a writ of habeas corpus under

Article 11.07 of the Texas Code of Criminal              Procedure    in the

convicting court,       which is transmitted to the         Texas Court of

Criminal Appeals once the trial court determines whether findings

are necessary.      See Tex. Code Crim. Proc.         art. 11.07 § 3(c).

"Habeas petitioners must exhaust state remedies by pursuing their

claims through one complete cycle of either state direct appeal or

post-conviction collateral proceedings." Busby v. Dretke, 359 F.3d

. 708, 723 (5th Cir. 2004).

      Bogus has not satisfied the exhaustion requirement because his

pleadings reflect that he has filed the same or similar claims in

a state habeas corpus application under Article 11.07 of the Texas

Code of Criminal Procedure, which remains pending in state court

and have not yet been resolved or presented to the Texas Court of

Criminal Appeals. 6     Because this state process remains available,

Bogus does not fit within a recognized exception to the exhaustion

doctrine. Under these circumstances, comity requires this court to

defer until the Texas Court of Criminal Appeals has considered the

merits of the petitioner's constitutional claims and the exhaustion

requirement is satisfied.      See Picard v. Connor, 92 S. Ct. 509, 512

(1971).    Therefore,    the pending federal habeas Petition must be



     6
      Petition, Docket Entry No. 18, p.            11; see also Exhibit,
State's Proposed Order Designating Issues,          Docket Entry No. 18-1,
pp. 8-9 (designating issues that the trial         court will resolve and
enter findings of fact; adopted and signed         by the presiding judge
on March 11, 2019, in Writ No. 1433472-A)

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dismissed for lack of exhaustion.         See Castille v. Peoples, 109 S.

Ct. 1056, 1059 (1989) (A petition under 28 U.S.C. § 2254 "must be

dismissed if state remedies have not been exhausted as to any of

the federal claims.") (citing       Rose v.     Lundy,   102 S. Ct.        1198

(1982)).


                  III.    Certificate of Appealability

     Rule 11 of the Rules Governing Section 2254 Cases requires a

district court to issue or deny a certificate of appealability when

entering a final order that is adverse to the petitioner.                     A

certificate of appealability will not issue unless the petitioner

makes "a substantial showing of the denial of a constitutional

right," 28 U.S.C. § 2253(c)(2), which requires a petitioner to

demonstrate   "that      reasonable jurists    would find the district

court's assessment       of the constitutional      claims   debatable or

wrong."    Tennard v. Dretke, 124 S. Ct. 2562, 2565 (2004) (quoting

Slack v. McDaniel, 120 S. Ct. 1595, 1604 (2000)).          Where denial of

relief is based on procedural grounds the petitioner must show not

only that "jurists of reason would find it debatable whether the

petition states a valid claim of the denial of a constitutional

right," but also that they "would find it debatable whether the

district court was correct in its procedural ruling."            Slack, 120

S. Ct. at 1604.

     A district court may deny a certificate of appealability, sua

sponte,    without requiring further briefing or argument.                 See


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Alexander     v.   Johnson,    211   F.3d   895,   898   (5th   Cir.   2000).

Reasonable jurists would not debate that the petitioner has not yet

exhausted available state court remedies or that the Petition is

premature.    Therefore,      a certificate of appealabili ty will not

issue.


                        IV.    Conc1usion and Order

     Based on the foregoing, the court ORDERS as follows:

     1.      The Petition for a Writ of Habeas Corpus by a
             Person in State Custody filed by Brett David Bogus
             (Docket Entry No. 18) is DISMISSED without
             prejudice for lack of exhaustion.

     2.      A certificate of appealability is DENIED.

     The Clerk shall provide a copy of this Memorandum Opinion and

Order to the parties.

     SIGNED at Houston, Texas, on this the,-tJ..         day ofa::.c., 2019.




                                                       SIM LAKE
                                             UNITED STATES DISTRICT JUDGE




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